Case 2:05-cr-20180-SH|\/| Document 16 Filed 07/08/05 Pag_e 1 of 2 Page|D 17

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IN THE UN|TED STATES D|STR|CT COU|"“"ED BM"'" o
FOR THE WESTERN D|STR|CT OF TENNESSE|E\L 8 P“ h \2

WESTERN D|V|S|ON

uNlTEo sTATEs oF AMERch U%UO§§§:TW §§ms

 

Plaintiff

VS.
CR. NO. 05-20180-D

CHR|STOPHER W|LL|S

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SE`|_|'|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3. 2005 with a

report date of Thursda)¢l September 22l 2005. at 9:00 a.m., in Courtroom 3 9th F|oor
of the Federa| Bui|dingl Memphis, TN.

 

The period from June 30, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this f day of Ju|y, 2005.

  

  

RN|CE B. DO LD
NlTED STATES D|STR|CT JUDGE

Tt is document entered on the docket sheet in co pllance
with Hule 05 ami/or 32(b) FHCrP on 2“' /Q Q§D il

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20180 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

